                                         UNITED STATES DISTRICT COURT
                 Case 2:99-cr-00433-WBS
                                  EASTERNDocument  1140
                                          DISTRICT OF    Filed 01/28/08 Page 1 of 2
                                                      CALIFORNIA

UNITED STATES OF AMERICA                                 )
                                                         )        CR S-99-433 WBS
                 v.                                      )
                                                         )
            BAO LU                                       )

                                APPLICATION FOR WRIT OF HABEAS CORPUS

        The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                       (X) Ad Prosequendum                               () Ad Testificandum

Name of Detainee:        BAO LU, CDC #K76720
Detained at (custodian): California State Prison - Solano, Vacaville, CA
Detainee is:             a.)     (X) charged in this district by: (X) Indictment () Information () Complaint
                                  charging detainee with: Conspiracy to Commit Robbery Affecting Interstate
                                  Commerce
                or       b.)     () a witness not otherwise available by ordinary process of the Court

Detainee will:           a.)    (X) return to the custody of detaining facility upon termination of proceedings
                 or      b.)    () be retained in federal custody until final disposition of federal charges, as a sentence is
                                  currently being served at the detaining facility

        Appearance is necessary FORTHWITH in the Eastern District of California.

                                Signature:                        /s/ William S. Wong
                                Printed Name & Phone No:          WILLIAM S. WONG, (916) 554-2790
                                Attorney of Record for:           United States of America

                                           WRIT OF HABEAS CORPUS
                         (X) Ad Prosequendum                 () Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, FORTHWITH, and any further proceedings to be
had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.

Date: January 25, 2008




                                                       Page 1 of 2
                 Case 2:99-cr-00433-WBS Document 1140 Filed 01/28/08 Page 2 of 2
_________________________________________________________________________________________________
Please provide the following, if known:

AKA(s) (if applicable):        Hoang Nguyen                                                Male
CDC #:                         K76720                                                      DOB: 06/28/79
Facility Address:              California State Prison, Solano                             Race:
                               2100 Peabody Road                                           FBI #:
                               Vacaville, CA 95696
Facility Phone:                (707) 451-0182
Currently Incarcerated For:    Conspiracy to Commit a Robbery Affecting Interstate Commerce; defendant to be
                               re-setenced in EDCA.

_________________________________________________________________________________________________
                                                RETURN OF SERVICE

Executed on     ____________________________                 By: ___________________________________________________
                                                                 (Signature)




                                                    Page 2 of 2
